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 5                             UNITED STATES DISTRICT COURT
 6                                    DISTRICT OF NEVADA
 7                                               ***
                                                 )
 8   UNITED STATES OF AMERICA,                   )       2:06-CR-00234-PMP-GWF
                                                 )
 9                    Plaintiff,                 )                  ORDER
                                                 )
10   v.                                          )
                                                 )
11   JONATHON LEON TOLIVER,                      )
                                                 )
12                    Defendant.                 )
                                                 )
13

14             This matter is before the Court for consideration of Defendant Jonathon Toliver’s
15   Amended Motion to Vacate, Set Aside, or Correct Criminal Convictions and Sentence
16   Pursuant to 28 U.S.C. § 2255 (Doc. #665). Defendant’s Amended Motion is fully briefed,
17   and following the hearing conducted April 21, 2014 (Doc. #710), a further hearing was set
18   to consider limited evidence and further argument on Thursday, July 10, 2014.
19             Following the April 21, 2014 hearing, Defendant Toliver filed on April 28, 2014,
20   a Motion for Leave to Conduct Discovery and For Court Order to Obtain Documents (Doc.
21   #713). Defendant Toliver’s Motion for Leave to Conduct Discovery sets forth six discreet
22   requests seeking court orders to obtain various records from the Clark County School
23   District, the Las Vegas Metropolitan Police Department, and the Nevada Department of
24   Corrections which, according to Defendant Toliver, would arguably enable him to
25   demonstrate actual innocense with respect to his convictions for violent crime in aid of
26   racketeering (“VICAR”) on the ground that the alleged racketeering enterprise in the form
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 1   of a gang called “Squad-Up” did not exist at the time of the crimes alleged. However, for
 2   the reasons set forth in the Governments Response in Opposition to Defendant Toliver’s
 3   Motion (Doc. #717), the Court finds that Defendant’s discovery request must be denied.
 4             Specifically, Defendant Toliver has not, and cannot, show good cause to support
 5   Discovery Request Nos. 1 and 2 for records from the Clark County School District and the
 6   Las Vegas Metropolitan Police Department concerning the existence of “Squad-Up” as a
 7   gang because the jury’s convictions of Defendant Toliver, which were affirmed by the
 8   Court of Appeals, demonstrate the existence of “Squad-Up” during the relevant period,
 9   beyond a reasonable doubt. Additionally, the Court finds Defendant Toliver fails to show
10   good cause to support Request for Discovery Nos. 3, 4, 5, and 6.
11             IT IS THEREFORE ORDERED that Defendant Toliver’s Motion for Leave to
12   Conduct Discovery and For Court Order to Obtain Documents (Doc. #713) is DENIED.
13             DATED: June 23, 2014.
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                                                 PHILIP M. PRO
17                                               United States District Judge
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